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                              EXHIBIT C
  Case 2:23-cv-10611-FLA-AGR Document 1-3 Filed 12/19/23 Page 2 of 22 Page ID #:11
                                            ELECTRONICALLY FILED
                                            Superior Court of California
                                            County of Santa Barbara
                                            Darrel E. Parker, Executive Officer
 1 James H. Cordes (#175398)                12/11/2023 11:11 AM
    Angelica J. Caro (#318821)              By: Narzralli Baksh , Deputy
 2 James H. Cordes and Associates
    831 State Street, Suite 205
 3 Santa Barbara, CA 93101
    Telephone: (805) 965-6800
 4 Facsimile: (805) 965-5556
 5   Attorney for Plaintiff
     GARY BAKER
 6
 7
 8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                                COUNTY OF SANTA BARBARA
                                                                         23CV05455
10                                      ANACAPA DIVISION
11   GARY BAKER, an individual,           )             COMPLAINT FOR DAMAGES AND
                                          )             INJUNCTIVE RELIEF
12                        Plaintiffs,     )
                                          )             1. Breach of Contract;
13         vs.                            )
                                          )             2. Breach of the Implied Covenant of
14   CINAMAKER, INC., a corporation,      )             Good Faith and Fair Dealing;
     BENJAMIN NOWAK, an individual, and )
15   DOES 1 through 10, inclusive,        )             3. Misclassification as Independent
                                          )             Contractor
16                        Defendants.     )
                                          )             4. Unpaid Contract Wages;
17                                        )
                                          )             5. Violation of Labor Code §226;
18                                        )
                                          )             6. Waiting Time Penalties;
19                                        )
                                          )             7. Expense Reimbursement;
20                                        )
                                          )             8. Unfair Business Practices; and,
21                                        )
                                          )             9. Defamation.
22                                        )
     ____________________________________ )             DEMAND FOR JURY TRIAL
23
24                                   GENERAL ALLEGATIONS
25          1.      Plaintiff GARY BAKER (“Mr. Baker” or “Plaintiff”) is an individual who, at all
26   times relevant herein, worked and resided in or around the City and County of Santa Barbara,
27   State of California.
28

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 1           2.      Defendant CINAMAKER, INC. (“Cinamaker”) is a corporation which, at all
 2   times relevant herein, had its principal place of business in and around the City of Atlanta, State
 3   of Georgia.
 4           3.      Defendant BENJAMIN NOWAK (“Nowak”) is an individual who, at all times
 5   relevant herein, worked and resided in and around the City of Atlanta, State of Georgia.
 6           4.      Cinamaker, Nowak, and DOES 1 through 10 are collectively referred to as
 7   “Defendants.”
 8           5.      The true names and capacities, whether individual, corporate, associate, or
 9   otherwise, of Defendants sued herein as DOES 1 through 10, inclusive, are currently unknown to
10   Plaintiffs, who therefore sue Defendants by such fictitious names. Plaintiff is informed and
11   believes and based thereon alleges, that each of the Defendants designated herein as a DOE is
12   legally responsible in some manner for the events and happenings referred to herein and caused
13   injury and damage proximately thereby to Plaintiffs as hereinafter alleged. Plaintiffs will seek
14   leave of the court to amend this Complaint to reflect the true names and capacities of the
15   Defendants designated hereinafter as DOES when the same have been finally ascertained.
16           6.      Whenever in this Complaint reference is made to “Defendants,” such allegations
17   shall be deemed to mean the acts of Defendants acting individually, jointly, and/or severally.
18           7.      Plaintiff is informed and believes and based thereon alleges, that at all times
19   mentioned herein, each of the Defendants was the alter ego, agent, servant, employee, co-
20   venturer, and co-conspirator of each of the remaining Defendants, and was at all times herein
21   mentioned, acting within the course, scope, purpose, consent, knowledge, ratification, and
22   authorization of such agency, employment, joint venture, and conspiracy.
23           8.      Plaintiff is informed and believes and based thereon alleges that Defendant
24   Nowak was a supervisory employee and managing agent of Defendant Cinamaker and DOES 1-
25   10 at all times relevant.
26           9.      Plaintiff is further informed and believes and based thereon alleges that Defendant
27   Nowak was an owner, director, officer, or managing agent of Defendant Cinamaker and DOES 1-
28   10 throughout the course of Plaintiffs’ employment. As a result thereof, Defendant Nowak is

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 1   individually liable to Plaintiffs for Defendants’ violations of the California Labor Code and
 2   Wage Order No. 4 under Labor Code §§ 1197.1 and 558.1.
 3          10.     On May 29, 2020, the California Judicial Council approved a revision to
 4   Emergency Rule 9 regarding the statutes of limitations for filing civil cases during the
 5   COVID-19 pandemic. The amended Emergency Rule 9 is no longer tied to the statewide state of
 6   emergency declaration. The new rule tolls statutes of limitations and repose for civil causes of
 7   action as follows: (a) statutes of limitations and repose for civil causes of action that exceed 180
 8   days are tolled from April 6, 2020 until October 1, 2020; and (b) statutes of limitations and
 9   repose for civil causes of action that are 180 days or less are tolled from April 6, 2020 until
10   August 3, 2020.
11                                          Factual Background
12          11.      Cinamaker hired Mr. Baker under a written Offer Memorandum dated September
13   1, 2017 (“Agreement”) as Senior Vice President of Corporate Development at a salary of
14   $200,000 per year, or $16,667 per month. Most recently, Cinamaker referred to Mr. Baker as its
15   President and Chief Operating Officer. The written Agreement provided, inter alia, that
16   compensation would be partially remitted as “net cash compensation (after tax withholding)” of
17   $3,500 every two weeks and the balance would accrue as either stock, warrants, options, cash, or
18   another instrument; that records of accrued value will be maintained by Cinamaker and reported
19   to Gary Baker on a monthly basis; and that Cinamaker would be responsible for paying the tax
20   withholding obligation. A true and correct copy of the Agreement is attached as Exhibit A and
21   incorporated herein by this reference.1
22          12.     Mr. Baker worked exclusively and full-time as President and COO of Cinamaker
23   for the benefit of Cinamaker. As the Agreement notes,
24                  “We’re delighted to extend this offer of employment for the position of
            Senior Vice President of Corporate Development with Cinamaker Inc.. Should
25          you accept this offer, your start date will be 9/1/2017 for a minimum period of one
            year. You will report to the Company’s CEO, Benjamin Nowak. Please review
26          this summary of terms and conditions for your anticipated employment with us.”
            (Emphasis added.)
27
28          1
                     At the time Mr. Baker signed the Agreement, it did not contain the handwriting in
     the upper left and along the left side.
                                                     3
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 1
                        “Your title will be Senior Vice President of Corporate Development. This
 2             is a full-time position while you are employed at the company. Outside of your
               previous mentoring obligations with the Impact Hub, Santa Barbara, you will not
 3             engage in other employment or contract work unless agreed upon by Cinamaker
               and Gary Baker.”
 4
               13.    Mr. Baker fulfilled multiple roles and needs of the company, including but not
 5
     limited to Corporate Development, Business Development, Customer Support, Marketing,
 6
     Communications/PR, Content Development, Video Production, Events Planning & Support,
 7
     Sales, President & COO. Mr. Baker dedicated his time, from September 1, 2017 to August 27,
 8
     2023, averaging 50 to 60 hours per week (and accessible 24/7) responding to support queries,
 9
     internal requests, frequently cancelling travel and personal time to support the needs of
10
     Cinamaker.
11
               14.    A few months after the start of Mr. Baker’s employment and at his request,
12
     Cinamaker increased the amount of Mr. Baker’s “net cash compensation” to $7,500 per month.
13
               15.    On or about March 1, 2018, Cinamaker offered Mr. Baker ten percent of
14
     Cinamaker’s stock which would be earned over a three year period via email from Nowak which
15
     stated:
16
                       “May I present you with your golden handcuffs. [¶] Let this be email be
17             official notification that as we are presently organizing our corporate structure that
               Cinamaker, Inc. is offering you, as an incentive package, being a senior executive
18             in the business, 10% of Cinamaker’s stock to be earned out over a 3 year period
               beginning on March 1st, 2018. [¶] We will work with you, our contract CFO and
19             CPA to determine the best structure and format to manage the grant. [¶] The basic
               terms of the stock arrangement are the following details are TBD.”
20
               16.    Nowak confirmed orally and in writing the plain language of his offer: that the ten
21
     percent was separate from and addition to any equity that was being earned and accrued in lieu of
22
     wages.
23
               17.    In 2020, Mr. Baker filed his tax returns for the years 2018, 2019, and 2020 and
24
     received a tax bill for the unpaid taxes.
25
               18.    In or around December, 2021, Cinamaker made a $30,000 payment toward Mr.
26
     Baker’s outstanding tax bill. Shortly thereafter, Cinamaker began making monthly payments to
27
     Mr. Baker of $750 toward his outstanding tax bill.
28

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 1            19.   On or about May, 2022, Mr. Baker reviewed Cinamaker’s proposed “Cap Table”
 2   and other documents and became aware that the handwritten portion of Exhibit A was added by
 3   Nowak without reviewing with Mr. Baker’s input or agreement. Mr. Baker emailed Nowak for
 4   clarification about the status of his deferred compensation. Nowak never responded.
 5            20.   In October, 2022, Mr. Baker submitted his 2021 tax bill.
 6            21.   In November, 2022, Mr. Baker’s “net cash compensation” was raised to $10,000
 7   per month, and in July, 2023 Mr. Baker’s “net cash compensation” was raised to $13,000 per
 8   month.
 9            22.   On or about August 8, 2023, Nowak inquired with Mr. Baker about his
10   outstanding tax bill. Mr. Baker responded he would submit his 2022 tax bill that weekend. In
11   response, Nowak stated in sum or substance that Mr. Baker had the wrong impression of his
12   salary and gave Mr. Baker an ultimatum to either (1) reduce his monthly earnings to $7,500 and
13   have Cinamaker pay the outstanding taxes or (2) keep his monthly earnings at $13,000 per month
14   and he pay his tax obligation himself, saying,“You need to think about this. If this is your
15   requirement we can’t go on.”
16            23.   As of this time, the deferred compensation due through 2023 had accrued to
17   approximately $698,993.33; the unpaid taxes on Mr. Baker’s compensation from 2018-2020 and
18   2022 was approximately $19,355 and liable to accrue additional penalties and interest for
19   remaining unpaid; and the current 2023 tax obligation was approximately of $12,620.18.
20            24.   Mr. Baker did not agree to any of these proposed changes to his Agreement.
21            25.   On or about August 14, 2023, and based on Nowak’s comments from August 8,
22   2023, that, “you need to think about this. If this is your requirement we can’t go on,” Mr. Baker
23   told David Hirsch, the lead investor and majority owner of Cinamaker (“Mr. Hirsch”), of his
24   intention to resign but to remain available through September 15, 2023 to assist with any
25   transition. Mr. Hirsch asked him not to tell Nowak because he wanted to convey that information
26   himself. Mr. Baker followed by immediately sending a resignation letter to Mr. Hirsch.
27            26.   On or about August 27, 2023, Mr. Baker sent the resignation letter to Nowak and
28   again to Mr. Hirsch, to whom Mr. Baker had originally sent it on or about August 14, 2023. Mr.

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 1   Baker requested payment of his deferred salary, payment of outstanding taxes and 2023 estimated
 2   taxes, and the recording of his 10% Cinamaker stock. Mr. Baker also provided a summary of the
 3   outstanding balances.
 4          27.     As of Mr. Baker’s final date of employment, he had accrued approximately
 5   $2,033.67 in unreimbursed expenses. Despite Mr. Baker making a request for reimbursement,
 6   those expenses have not been reimbursed.
 7          28.     On or about August 28, 2023, between 12:40 AM and 1:30 AM, Nowak defamed
 8   Mr. Baker in group Skype messages to members of the Cinamaker engineering, and marketing,
 9   and operations leadership, including but not limited to a message at 12:57 AM PST which
10   included the following; “Gary no longer works here… Please remove any credentials. I would
11   ask nobody engages….” Six minutes later, he followed up: “Please remove Gary the Thief.” A
12   true and correct copy of that message is attached as Exhibit B.
13                                     FIRST CAUSE OF ACTION
14                       (Breach of Contract Against Cinamaker and DOES 1-5)
15          29.     Plaintiff repeats and realleges the allegations contained in the preceding
16   paragraphs and incorporate the same by reference as though fully set forth herein.
17          30.     Plaintiffs fully performed all conditions, covenants, and promises to be performed
18   by them under the Agreement.
19          31.     Defendants failed to make payments and perform their obligations to Plaintiff
20   under the Agreement.
21          32.     Plaintiff has been damaged and continue to be damaged in an amount to be proven
22   at trial as a result of Defendants’ breaches as described above.
23          33.     As a result of Defendants’ conduct in not paying Plaintiff the agreed-upon wages,
24   Plaintiff has been deprived of his agreed-upon wages.
25          34.     As a direct and proximate result of Defendants’ conduct as alleged above,
26   Plaintiff has sustained and will sustain damages in the amount his agreed-upon wages.
27
28

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 1                                   SECOND CAUSE OF ACTION
 2                         (Breach of the Implied Covenant of Good Faith and
 3                           Fair Dealing Against Cinamaker and DOES 1-5)
 4          35.     Plaintiff repeats and realleges the allegations contained in the preceding
 5   paragraphs and incorporate the same by reference as though fully set forth herein.
 6          36.     At all times relevant to this action there existed with respect to the contract
 7   between the parties an implied covenant of good faith and fair dealing by which Defendants
 8   promised to give full cooperation to Plaintiff and Plaintiff’s performance under said employment
 9   contract and to refrain from doing any act which would prevent or impede Plaintiff from
10   performing all the conditions of the contract to be performed by him or any act that would
11   interfere with Plaintiff’s employment of the fruits of said contract. Specifically, said covenant of
12   good faith and fair dealing required Defendants to fairly, honestly and reasonably perform the
13   terms and conditions of the contract.
14          37.     Plaintiff has performed all acts, conditions, covenants, promises and other
15   obligations required to be performed by them under the terms of the Agreement.
16          38.     By their unlawful actions and breach of the Agreement as set forth herein,
17   Defendants breached their implied covenant of good faith and fair dealing owed to Plaintiff.
18          39.     As a direct and proximate result of said breach by Defendants, Plaintiff has
19   sustained and will sustain damages in the amount his agreed-upon wages.
20                                     THIRD CAUSE OF ACTION
21          (Misclassification as Independent Contractor Against Cinamaker and DOES 1-5)
22          40.     Plaintiff repeats and realleges the allegations contained in the preceding
23   paragraphs and incorporate the same by reference as though fully set forth herein.
24          41.     Labor Code §350, subdivisions (a) through (c), provides,
25          a.      “(a) ‘Employer’ means every person engaged in any business or enterprise in this
26                  state that has one or more persons in service under any appointment, contract of
27                  hire, or apprenticeship, express or implied, oral or written, irrespective of whether
28                  the person is the owner of the business or is operating on a concessionaire or other

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 1                  basis.
 2          b.      (b) ‘Employee’ means every person, including aliens and minors, rendering actual
 3                  service in any business for an employer, whether gratuitously or for wages or pay,
 4                  whether the wages or pay are measured by the standard of time, piece, task,
 5                  commission, or other method of calculation, and whether the service is rendered
 6                  on a commission, concessionaire, or other basis.
 7          c.      (c) ‘Employing’ includes hiring, or in any way contracting for, the services of an
 8                  employee.”
 9          42.     Labor Code §2750 provides in full, “The contract of employment is a contract by
10   which one, who is called the employer, engages another, who is called the employee, to do
11   something for the benefit of the employer or a third person.”
12          43.     The definition of “employer” for purposes of California wage and hour laws is set
13   forth in the Wage Orders promulgated by the Industrial Welfare Commission at Section 2 and
14   reads in relevant part as follows: “‘Employer’ means any person ... who directly or indirectly, or
15   through an agent or any other person, employs or exercises control over the wages, hours, or
16   working conditions of any person.”
17          44.     At all times relevant herein, Plaintiff’s wages and hours and working conditions
18   were governed by, inter alia, Title 8, California Code of Regulations Section 11040, Industrial
19   Welfare Commission Order No. 4 (“Wage Order 4”).
20          45.     Labor Code §558.1, subd. (a), (b), and (c) provide:
21                  “Any employer or other person acting on behalf of an employer, who
            violates, or causes to be violated, any provision regulating minimum wages or
22          hours and days of work in any order of the Industrial Welfare Commission, or
            violates, or causes to be violated, Sections 203, 226, 226. 7, 1193. 6, 1194, or
23          2802, may be held liable as the employer for such violation;
24                “For purposes of this section, the term “other person acting on behalf of an
            employer” is limited to a natural person who is an owner, director, officer, or
25          managing agent of the employer, and the term “managing agent” has the same
            meaning as in subdivision (b) of Section 3294 of the Civil Code.
26
                  “Nothing in this section shall be construed to limit the definition of
27          employer under existing law.”
28

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 1          46.     Labor Code §268 makes it unlawful for any person or employer willfully to
 2   misclassify an individual as an independent contractor or to make any deductions from
 3   compensation, for any purpose, including for goods, materials, space rental, services, government
 4   licenses, repairs, equipment maintenance, or fines arising from the individual's employment
 5   where any of the acts would have violated the law if the individual had not been misclassified.
 6          47.     During the time Plaintiff worked Defendants, Plaintiff was an employee of
 7   Defendants as defined by Labor Code §§ 350, subd. (b) and 2750. However, Defendants willfully
 8   misclassified Plaintiff as an independent contractor. By so doing, Defendants lowered their cost
 9   of doing business by means of, inter alia, the following:
10          a.      Defendants did not report or pay the employer's share of federal or state payroll
11                  taxes with respect to any of the funds paid to Plaintiff as required by federal and
12                  state law;
13          b.      Defendants did not provide or pay for Workers Compensation insurance for
14                  Plaintiff;
15          c.      Defendants did not provide or pay for State Disability insurance for Plaintiff; and,
16          d.      Defendants did not provide or pay for benefits to Plaintiff that other of
17                  Defendants' employees received.
18          48.     As a direct and proximate result of Defendants' conduct as alleged above, Plaintiff
19   is entitled to a civil penalty of not less than five thousand dollars ($5,000) and not more than
20   fifteen thousand dollars ($15,000) for each violation, in addition to any other penalties or fines
21   permitted by law.
22          49.     As a direct and proximate result of Defendants' pattern and practice as alleged
23   above, Plaintiff is are entitled to a civil penalty of not less than ten thousand dollars ($10,000)
24   and not more than twenty-five thousand dollars ($25,000) for each violation, in addition to any
25   other penalties or fines permitted by law.
26   ///
27   ///
28   ///

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 1                                   FOURTH CAUSE OF ACTION
 2                          (Unpaid Contract Wages Against All Defendants)
 3          50.     Plaintiff repeats and realleges the allegations contained in the preceding
 4   paragraphs and incorporate the same by reference as though fully set forth herein.
 5          51.     This action is brought by Plaintiff under Labor Code §204 which provides that
 6   wages earned must be paid at least twice per calendar month on regular paydays.
 7          52.     Labor Code §212 provides, in pertinent part, that wages must be paid by an
 8   instrument that is negotiable and payable in cash, on demand, without discount, at some
 9   established place of business in the state, and that an employer may not pay wages via any scrip,
10   coupon, cards, or other thing redeemable, in merchandise or purporting to be payable or
11   redeemable otherwise than in money.
12          53.      Labor Code §219, subdivision (a) provides, in pertinent part, that, “no provision
13   of this article [ARTICLE 1. General Occupations [200 - 244]] can in any way be contravened
14   or set aside by a private agreement, whether written, oral, or implied.” (Emphasis added.)
15          54.     Plaintiff performed work and earned wages but was not paid all wages earned at
16   least twice per calendar month on regular paydays.
17          55.     As a result of Defendants’ conduct in not paying Plaintiff his wages, Plaintiff has
18   been deprived of his wages for all hours worked.
19          56.     As a direct and proximate result of Defendant’s conduct as alleged above,
20   Plaintiff has sustained and will sustain damages in the amount his unpaid wages for all hours
21   worked..
22                                    FIFTH CAUSE OF ACTION
23                       (Violation of Labor Code §226 Against All Defendants)
24          57.     Plaintiff repeats and realleges the allegations contained in the preceding
25   paragraphs and incorporate the same by reference as though fully set forth herein.
26          58.     This action is brought by Plaintiff under Labor Code §226, which sets forth
27   reporting requirements for employers when paying wages, including,
28

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 1                  “Every employer shall, semimonthly or at the time of each payment of
             wages, furnish each of his or her employees . . . an itemized statement in writing
 2           showing (1) gross wages earned....”
 3                   Subdivision (e) provides,
 4                   “(1) An employee suffering injury as a result of a knowing and intentional
             failure by an employer to comply with subdivision (a) is entitled to recover the
 5           greater of all actual damages or fifty dollars ($50) for the initial pay period in
             which a violation occurs and one hundred dollars ($100) per employee for each
 6           violation in a subsequent pay period, not to exceed an aggregate penalty of four
             thousand dollars ($4,000), and is entitled to an award of costs and reasonable
 7           attorney’s fees.
 8                  “(2)(A) An employee is deemed to suffer injury for purposes of this
             subdivision if the employer fails to provide a wage statement.”
 9
                     Subdivision (g) provides, “An employee may also bring an action for
10           injunctive relief to ensure compliance with this section, and is entitled to an award
             of costs and reasonable attorney’s fees.”
11
12           59.     On the pay periods in which Defendants underpaid wages to Plaintiff, Defendants
13   did not provide accurate corresponding wage statements.
14           60.     As a direct and proximate result of Defendants’ conduct as alleged above,
15   Plaintiff is entitled to a civil penalty of fifty dollars ($50) for the initial pay period, and one
16   hundred dollars ($100) for each subsequent pay period, for which Defendants violated the
17   reporting requirements of Labor Code §226, up to a maximum of $4,000, together with interest
18   thereon and attorney’s fees and costs.
19                                      SIXTH CAUSE OF ACTION
20                            (Waiting Time Penalties Against All Defendants)
21           61.     Plaintiff repeats and realleges the allegations contained in the preceding
22   paragraphs and incorporate the same by reference as though fully set forth herein.
23           62.     This action is brought under Labor Code §203, which, at all times relevant herein,
24   provided that if an employer willfully fails to pay any wages of an employee who is discharged or
25   quits, the wages of such employee shall continue as from the due date thereof at the same rate
26   until paid or until an action therefor is commenced, for not more than 30 days.
27           63.     More than thirty days have past since Plaintiff was discharged or quit his
28   employment with Defendants.

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 1          64.     As a result of Defendants’ willful conduct in not paying the wages to which
 2   Plaintiff was were entitled, Plaintiff is are entitled to thirty days wages as penalty wages under
 3   Labor Code §203 together with interest thereon and attorney’s fees and costs.
 4                                   SEVENTH CAUSE OF ACTION
 5             (Expense Reimbursement under Labor Code §2802 against all Defendants)
 6          54.     Plaintiff repeats and realleges the allegations contained in the preceding
 7   paragraphs and incorporate the same by reference as though fully set forth herein.
 8          55.     Plaintiff brings this action under Labor Code §2802, which provides employers
 9   shall indemnify their employees for all necessary expenditures or losses incurred by the
10   employees in direct consequence of the discharge of their duties or of their obedience to the
11   directions of the employer.
12          56.     Plaintiff was required by Defendants to expend monies in direct consequence of
13   the discharge of his duties or of his obedience to the directions of the employer, most recently in
14   an amount of $2,033.67.
15          57.     As a direct and proximate result of Defendants’ conduct as alleged above,
16   Plaintiff has sustained and will sustain damages in the amount of the monies incurred by him in
17   direct consequence of the discharge of his duties or of his obedience to the directions of the
18   employer as described above; namely, expenses most recently in an amount of $2,033.67.
19                                    EIGHTH CAUSE OF ACTION
20                         (Unfair Business Practices Against All Defendants)
21          65.     Plaintiff repeats and realleges the allegations contained in the preceding
22   paragraphs and incorporates the same by reference as though fully set forth herein.
23          66.     Plaintiff brings this action for himself and on behalf of the People of the State of
24   California under the provisions of the Business & Professions Code §§17200 et seq. Among the
25   persons adversely affected the unfair business practices of Defendants as alleged herein are all
26   Defendants’ employees who did not receive the agreed-upon wages to which they were entitled.
27          67.     Business & Professions Code §§17200 et seq. defines unfair competition to
28   include any “unfair,” “unlawful,” or “deceptive” business practice. Business & Professions Code

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 1   §§17200 et seq. provides for injunctive and restitutionary relief for violations. Defendants’
 2   failure to provide their employees with their agreed-upon wages constitutes an unfair, unlawful
 3   and deceptive business practice.
 4          68.     As a direct and proximate result of Defendants’ conduct as alleged herein,
 5   Plaintifs and current and former employees of Defendants have been damaged as a result of
 6   Defendants’ failure to provide their employees their agreed-upon wages.
 7          69.     Under Business & Professions Code §§17200 and 17203, Plaintiffs and current
 8   and former employees of Defendants are entitled to restitution of all their unpaid agreed-upon
 9   wages wrongfully withheld by Defendants, together with interest thereon.
10          70.     Under Business & Professions Code §§17200 and 17203, Plaintiff and current and
11   former employees of Defendants are also entitled to recover penalties under Labor Code §§ 203
12   and 226.
13          71.     Under Business & Professions Code §17203, Plaintiff seeks on his own behalf
14   and on behalf of the People of the State of California an order enjoining Defendants from
15   continuing its aforesaid unlawful practices. Injunctive relief is appropriate to avoid a multiplicity
16   of suits for continuing violations of Business & Professions Code §§17200 et seq.
17                                      NINTH CAUSE OF ACTION
18                                  (Defamation Against all Defendants)
19          72.     Plaintiff repeats and realleges the allegations contained in the preceding
20   paragraphs and incorporates the same by reference as though fully set forth herein.
21          73.     The August 28, 2023 group Skype messages (Ex. B) sent by Nowak to members
22   of the Cinamaker engineering, and marketing, and operations leadership, including but not
23   limited to a message at 12:57 AM PST which included the following; “Gary no longer works
24   here… Please remove any credentials. I would ask nobody engages….” Six minutes later, he
25   followed up: “Please remove Gary the Thief” was slanderous per se because it was a “writing,
26   printing, picture, effigy, or other fixed representation to the eye, which exposes any person to
27   hatred, contempt, ridicule, or obloquy, or which causes him to be shunned or avoided, or which
28   has a tendency to injure him in his occupation.” (Civil Code §45.)

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 1          74.     Plaintiff is informed and believes and based thereon alleges that Defendants knew
 2   that there was no truth to his statements (including their implications) and that the probable affect
 3   of those publications was to harm Plaintiff’s professional reputation.
 4          75.     Plaintiff is informed and believes and based thereon alleges that Defendants
 5   republished or caused to be republished or knew or should have known that the group Skype
 6   messages (Ex. B) would be republished other individuals.
 7          76.     The group Skype messages (Ex. B) were false and did not reflect Plaintiff’s ability
 8   to perform his job and ability to carry out his duties.
 9          77.     That group Skype messages (Ex. B) were not privileged because that Defendants
10   published and republished them with personal animosity, hatred, and ill will toward Plaintiff.
11          78.     Further, that Defendants made the above-described publications and
12   republications with either the knowledge that they were false or without any reasonable grounds
13   for believing that they were true.
14          79.     As a direct and proximate result of the above-described publications and
15   republications, Plaintiff has suffered and continues to suffer general damages to his reputation,
16   and for humiliation and mental anguish and emotional distress of the sort normally associated
17   with the publication of defamatory statements. Plaintiff is thereby entitled to general and
18   compensatory damages in excess of $50,000.00 to be proven at time of trial.
19          80.     The outrageous conduct of Defendants, as described herein, was willful and done
20   with fraud, oppression, and malice and with a conscious disregard for Plaintiff’s right to be free
21   from defamation and with the intent, design, and purpose of injuring him. Plaintiff is entitled to
22   punitive and exemplary damages from Defendants in an amount appropriate to punish and make
23   an example of Defendants.
24                                        PRAYER FOR RELIEF
25          WHEREFORE, Plaintiff prays for judgment as follows:
26          1.      For breach of contract damages, according to proof, together with interest thereon;
27          2.      For a civil penalty of not less than five thousand dollars ($5,000) and not more
28   than fifteen thousand dollars ($15,000) for each violation, in addition to any other penalties or

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 1   fines permitted by law;
 2          3.      For a civil penalty of not less than ten thousand dollars ($10,000) and not more
 3   than twenty-five thousand dollars ($25,000) for each violation, in addition to any other penalties
 4   or fines permitted by law;
 5          4.      For unpaid wages, according to proof, together with interest thereon;
 6          5.       For a wage premium of fifty dollars ($50) for the first period for which
 7   Defendants supplied Plaintiff with wage statements in violation of Labor Code §226 and one
 8   hundred dollars ($100) for each subsequent pay period for which Defendants supplied Plaintiff
 9   with wage statements in violation of Labor Code §226;
10          6.      For penalties under Labor Code §203 according to proof;
11          7.      For reimbursement of all expenses incurred in direct consequence of the discharge
12   of his duties or of his obedience to the directions of the employer according to proof, together
13   with interest thereon;
14          8.      For restitution of full amounts, plus interest at the legal rate, of all unpaid wages
15   and wage premiums;
16          9.      For an order enjoining Defendants from continuing to engage in the
17   aforementioned unlawful business practice in violation of Business & Professions Code §17200;
18          10.     For interest under Labor Code §§218.6 and 226;
19          11.     For special, general, and compensatory damages, including lost wages and
20   benefits, and emotional distress damages, in excess of $50,000.00, according to proof;
21          12.     For punitive or exemplary damages, according to proof;
22          13.     For expenses, costs of suit and attorneys’ fees; and,
23          14.     For such other and further relief as the Court deems just and proper.
24   DATED: December 8, 2023                               James H. Cordes and Associates,
                                                           [E LECTRO N ICALLY SIGN ED ; CRC R U LE 2.257]
25
26                                                         /s/   James H. Cordes
27                                                         James H. Cordes, Esq..
                                                           Attorney for Plaintiff
28                                                         GARY BAKER

                                                      15
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 1                               DEMAND FOR JURY TRIAL
 2         Plaintiff GARY BAKER hereby demands a trial by jury.
 3
 4   DATED: December 8, 2023                         James H. Cordes and Associates,
                                                     [E LECTRO N ICALLY SIGN ED ; CRC R U LE 2.257]
 5
 6                                                   /s/   James H. Cordes
 7                                                   James H. Cordes, Esq..
                                                     Attorney for Plaintiff
 8                                                   GARY BAKER
 9
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         EXHIBIT A
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     9/1/17

     OFFER MEMORANDUM




     DEAR GARY,
                                                                          60,vit 0
     WE'RE DELIGHTED TO EXTEND THIS OFFER OF EMPLOYMENT FOR THE POSITION OF
     SENIOR VICE PRESIDENT OF CORPORATE DEVELOPMENT WITH CINAMAKER INC.. SHOULD
     YOU ACCEPT THIS OFFER, YOUR START DATE WILL BE 9/1/2017 FOR A MINIMUM PERIOD OF
     ONE YEAR. YOU WILL REPORT TO THE COMPANY'S CEO, BENJAMIN NOWAK.

     PLEASE REVIEW THIS SUMMARY OF TERMS AND CONDITIONS FOR YOUR ANTICIPATED
     EMPLOYMENT WITH US.



     POSITION

     YOUR TITLE WILL BE SENIOR VICE PRESIDENT OF CORPORATE DEVELOPMENT. THIS IS A
     FULL-TIME POSITION WHILE YOU ARE EMPLOYED AT THE COMPANY. OUTSIDE OF YOUR
     PREVIOUS MENTORING OBLIGATIONS WITH THE IMPACT HUB, SANTA BARBARA, YOU WILL
     NOT ENGAGE IN OTHER EMPLOYMENT OR CONTRACT WORK UNLESS AGREED UPON BY
     CINAMAKER AND GARY BAKER.




     TOTAL COMPENSATION

     THE COMPANY WILL PAY YOU A STARTING SALARY AT THE RATE OF $200,000 PER YEAR,
     $16,667 PER MONTH. INITIALLY, DISBURSEMENT WILL BE PARTIALLY REMITTED AS NET
     CASH COMPENSATION (AFTER TAX WITHOLDING) OF $3350.00 EVERY TWO WEEKS AND THE
     BALANCE WILL ACCRUE AS EITHER STOCK WARRANTS, OPTIONS, CASH, OR ANOTHER
     INSTRUMENT TO BE MUTUALLY AGREED UPON AT A LATER TIME BY CINAMAKER AND GARY
     BAKER. TAX WITHHOLDING WILL BE CALCULATED AND PAID BY THE COMPANY.



     EQUITY

     WHILE DISBURSEMENT WILL BE PARTIALLY REMITTED AS NET CASH COMPENSATION EVERY
    TWO WEEKS, THE BALANCE WILL ACCRUE AS EITHER STOCK WARRANTS, OPTIONS, CASH,
     OR ANOTHER INSTRUMENT TO BE MUTUALLY AGREED UPON AT A LATER TIME BY
                                                ____.----
     CINAMAKER AND GARY BAKER. RECORDS OF ACCRUED VALUE WILL BE MAINTAINED BY
     CINAMAKER AND REPORTED TO GARY BAKER ON A MONTHLY BASIS.



  Gary Baker

    GARY BAKER                                            BENJAMIN NOWAK
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          EXHIBIT B
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                                                               of 22 Page ID #:30




                      Benjamin Nowaj,
                      fuck you loser

                "     Benjamin Nowak in...
                      Gary no longer works here...
                      Please remove any credentials.

                       .

                           LII ,nobody engages
                '
                                                                    ’1
                                           j .1 ..'.



                      Benjamin Nowak         12:42? AM
                      14044836688 Deposited a
                      new message:
                      "Hey, you thInk you have
                                you                    psycho   .


                >money,               fucking            mm
                      Benjamin NowakIn... 1:05AM
                      Please remove Gary the Thler:


              .       Benjamin Nowakln..1:Q_.«
                      please remove Gary the Thlef'
                                                         b
                           you or lmost 18 months
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                                                        '
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                ”"217                                       .'


                        Benjamin Nowak in... 1:05                r




                        Please remove Gary the Thl




                .' Benjamin Nowak:             -

                        harsh reality
                        Ihave not had the heart to tell
                        you for almost 18 months but
                        you're in major cognitive
                        ,ecline. The only reason yo
                                          1115”

                “Benjamin Nowa”?
                        harsh reality
                        Ihave not had the heart to tell
                        you for almost 18 months but
                        you're in major cognitive    ..
                        decline. The only reason yo;


                        Benjamin
                        Voicemail


                                                            3%
